                    Case 4:20-cv-05640-YGR Document 577-1 Filed 05/04/21 Page 1 of 29


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           13

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           15
                                           UNITED STATES DISTRICT COURT
           16
                                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
           17
                                                    OAKLAND DIVISION
           18

           19    EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR-TSH

           20                          Plaintiff, Counter-   DECLARATION OF RACHEL S. BRASS IN
                                       defendant             SUPPORT OF DEFENDANT APPLE INC.’S
           21                                                MOTION TO PARTIALLY SEAL
                       v.                                    PORTIONS OF THE PARTIES’ TRIAL
           22                                                EXHIBITS AND LIVE TRIAL TESTIMONY
                 APPLE INC.,                                 RELATED THERETO
           23
                                       Defendant,
           24                          Counterclaimant.

           25

           26

           27

           28

Gibson, Dunn &
                     DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP       PARTIALLY PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
                                                THERETO, 4:20-cv-05640-YGR
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            1            I hereby declare as follows:
            2            1.      I am an attorney licensed to practice in the State of California, and a member of the Bar
            3    of this Court. I am a partner at the law firm Gibson, Dunn & Crutcher LLP, counsel of record for
            4    Defendant Apple Inc. (“Apple”) in this case. I am familiar with Apple’s treatment of highly proprietary
            5    and confidential information, based on my personal experience representing Apple. 1 I have personal
            6    knowledge of the facts stated below and, if called as a witness, I could and would testify competently
            7    thereto. I submit this declaration in support of Apple’s Motion to Partially Seal Portions of Trial
            8    Exhibits and Live Trial Testimony Related Thereto.
            9            2.      When a party seeks to seal records for use at trial, there is a “strong presumption in favor
           10    of access” that can be overcome only by “compelling reasons.” Kamakana v. City & County of
           11    Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quotation marks omitted). The party seeking to seal
           12    the document or proceedings must “articulate compelling reasons supported by specific factual findings
           13    that outweigh the general history of access and the public policies favoring disclosure.” Id. at 1178–
           14    79 (alteration, citation, and quotation marks omitted). “In general, ‘compelling reasons’ sufficient to
           15    outweigh the public’s interest in disclosure and justify sealing court records exist when such ‘court
           16    files might have become a vehicle for improper purposes,’ such as the use of records to gratify private
           17    spite, promote public scandal, circulate libelous statements, or release trade secrets.” Id. at 1179
           18    (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)).
           19            3.      Apple operates in an intensely competitive marketplace. It occupies a unique position
           20    as a leader with respect to a number of highly dynamic technologies. Apple has serious and legitimate
           21    concerns that competitors will be quick to pounce on any release of Apple’s highly sensitive,
           22    proprietary information in order to gain competitive advantage. As such, Apple takes extensive
           23    measures to protect the confidentiality of its proprietary information.
           24

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                      Courts in this District routinely grant motions to seal on the basis of declarations of counsel. See,
           26         e.g., In Re Qualcomm Litig., No. 17-00108, Dkt. 398-1 (S.D. Cal. Mar. 3, 2018); Avago Techs. U.S.
                      Inc., et al. v. Iptronics Inc., et al., No. 10-02863-EJD, Dkt. 544 (N.D. Cal. Apr. 3, 2015); Cisco
           27         Sys., Inc., et al. v. Opentv Inc., et al., No. 13-00282-EJD, Dkt. 76 (N.D. Cal. Oct. 8, 2018). I am
                      personally familiar with Apple’s safeguarding of proprietary information, but if the Court deems
           28         this declaration insufficient, Apple respectfully requests that it be permitted to file a further
                      declaration supporting filing under seal.
Gibson, Dunn &          DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                      PARTIALLY PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1            4.     The Court has “broad latitude” “to prevent disclosure of materials for many types of
            2    information, including, but not limited to, trade secrets or other confidential research, development, or
            3    commercial information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002)
            4    (emphasis in original).
            5            5.     The Court has expressed a desire for these proceedings to be public. To that end, Apple
            6    has carefully reviewed its depositions designations and now proposes only those redactions that are
            7    essential.
            8            6.     Specifically, Apple seeks only to seal information from four categories of confidential
            9    information: 1) non-public financial information, 2) information that could aid a bad actor, 3)
           10    competitively sensitive information and 4) third-party information entrusted to Apple.
           11            7.     Apple expects that only those documents for which either Trystan Kosmynka or
           12    Matthew Fischer is listed as the sponsoring witness are likely to be introduced during the first week of
           13    trial. Those documents are indicated by an asterisk in the charts below.
           14                  CATEGORY 1 – APPLE NON-PUBLIC FINANCIAL INFORMATION
           15            8.     Apple first seeks to seal non-public financial information. The information Apple seeks
           16    to protect is foundational to its business, and Apple has exerted great effort and undertaken substantial
           17    expense to protect such information. Apple has narrowly tailored its sealing request so as to maximize
           18    the public’s access to court proceedings without jeopardizing Apple’s business interests.
           19            9.     Below is a chart detailing the specific potential trial exhibits that are sealable under this
           20    category for the reasons explained herein.
           21        Document                      Document Title                              Reason to Seal
                    Sought to be
           22         Sealed
           23                                                                       This document is natively
           24                                                                       produced, non-public transactional
                                                                                    data for Apple. The data provides
           25                                                                       detailed, competitively, sensitive,
                                                                                    and confidential information about
           26                                                                       virtually every aspect of the App
                                                                                    Store. Most critical here, it
           27                        Apple transactional data produced via          provides information about
                  DX-5338            hard drive
           28                                                                       historical revenues from each

                                                                     2
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                    Document                  Document Title                       Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                         developer in the App Store, as well
            4                                                            as transaction by transaction data.
                                                                         This data could potentially be used
            5                                                            not just by competitors of Apple,
                                                                         but also by competitors of the
            6                                                            many, many developers whose
            7                                                            information is implicated in this
                                                                         dataset. This data represents the
            8                                                            core of Apple’s confidential
                                                                         information about the App Store,
            9                                                            and also the core of what
                                                                         developers expect will be
           10                                                            maintained in confidence when they
           11                                                            join the App Store.

           12                                                            This document is natively
                                                                         produced, non-public transactional
           13                                                            data for Apple. The data provides
                                                                         detailed, competitively, sensitive,
           14                                                            and confidential information about
           15                                                            virtually every aspect of the App
                                                                         Store. Most critical here, it
           16                                                            provides information about
                                                                         historical revenues from each
           17                                                            developer in the App Store, as well
                                                                         as transaction by transaction data.
           18                                                            This data could potentially be used
           19                                                            not just by competitors of Apple,
                                                                         but also by competitors of the
           20                                                            many, many developers whose
                                                                         information is implicated in this
           21                                                            dataset. This data represents the
                                                                         core of Apple’s confidential
           22
                                  Transactional data produced via hard   information about the App Store,
           23                     drive (not required to be exchanged    and also the core of what
                                  between the parties pursuant to the    developers expect will be
           24                     Stipulation and [Proposed] Order       maintained in confidence when they
                 PX-2306          Regarding Pretrial Schedule)           join the App Store.
           25
                                                                         This document includes non-public,
           26                                                            unaudited, and competitively
           27                                                            sensitive financial data for the App
                                  7/30/2020 Apple Inc. WW App Store      Store covering the period through
           28    PX-0092          Gross Margin                           Q2 FY 2020.
                                                               3
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
                                                THERETO, 4:20-CV-05640-YGR
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            1
                       Document                   Document Title                           Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                              This document includes detailed,
            4                                                                 non-public information about
                                                                              Apple’s Search Ads feature, which
            5
                                                                              is at best tangential to the issues
            6                                                                 being litigated in this case. This
                                      9/2/2019 Email regarding Re: Search Ads includes confidential and
            7                         Q4 FY19 Flash Report - August 23 to 29 competitively sensitive future-
                 *PX-0414 2           with attachment(s)                      looking information.
            8
                                                                                 This document is a slide deck
            9
                                                                                 providing a business overview of
           10                                                                    the App Store. The document
                                                                                 contains non-public and
           11                                                                    competitively sensitive financial
                                                                                 information about the App Store,
           12                                                                    including the number of paying
                                                                                 accounts and total billings by
           13
                                                                                 region. The document also contains
           14                                                                    confidential information about
                                                                                 potential changes to and new
           15                                                                    features for the App Store, as well
                                                                                 as critical analyses of the existing
           16    DX-3323              Presentation titled “Business Overview”    design of the App Store.
           17
                                                                                 This document contains non-public,
           18                                                                    detailed sales data and financial
                                      Spreadsheet titled “Apple Inc. US Sales,   information data for the iPhone,
           19                         iPhone, IPad, and IPod Touch,              iPad, and iPod Touch through FY
                 DX-4611              Q4FY2008-Q4FY2019”                         2019.
           20
                                                                                 This document includes non-public
           21                         8/12/2020 iTunes WW P&L_Q4FY08-            detailed financial data for iTunes
           22    PX-0432              Q3FY20.xlsx                                through Q3 FY 2020.

           23                                                                    This document is an Excel file
                                                                                 containing detailed non-public
           24                                                                    marketing costs associated with the
                                      8/12/2020 App Store Marketing OPEX         App Store including for Q4 FY
           25    PX-0603              Q1FY15-Q4FY20.xlsx                         2020.
           26

           27
                  2
           28         PX-0414 is included in the parties’ April 27, 2021 Stipulation and [Proposed] Order Regarding
                      Admissibility of Documents Submitted with Four-Hour Deposition (Dkt. 498).
                                                                     4
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
                                                THERETO, 4:20-CV-05640-YGR
                    Case 4:20-cv-05640-YGR Document 577-1 Filed 05/04/21 Page 6 of 29


            1
                    Document                  Document Title                       Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                         This document is an Excel file
            4                                                            containing detailed non-public and
                                                                         competitively sensitive information
            5
                                                                         regarding certain developer
            6                                                            relations costs associated with the
                                  11/13/2020 WW Developer Relations      App Store, including for Q4 FY
            7    PX-0604          OCOGS Q1FY15-Q4FY20.xlsx               2020.
            8                                                            This document is an Excel file
                                                                         containing detailed non-public and
            9
                                                                         competitively sensitive information
           10                                                            regarding certain developer
                                                                         relations costs associated with the
           11                     11/13/2020 WW Developer Relations      App Store for the period through
                 PX-0605          OPEX Q1FY15-Q4FY20.xlsx                Q4 FY 2020.
           12
                                                                         This document is an excel
           13
                                                                         spreadsheet showing non-public,
           14                                                            unaudited, competitively sensitive
                                                                         financial information for various
           15                     7/8/2020 Apple Inc. Line of Business   lines of business at Apple through
                 PX-0606          Report - iPhone                        Q1 of 2020.
           16
                                                                         This document is an Excel file
           17                                                            setting forth several categories of
           18                                                            non-public financial information
                                  9/21/2020 iTunes WW P&L_Q4FY08-        related to iTunes for the period
           19    PX-0607          Q3FY20 - Source Data Included.xlsx     through Q3 FY 2020.

           20                                                            This document includes non-public
                                                                         financial data for the App Store
           21                                                            through Q2 FY 2020. These figures
           22                                                            are not made public, have not been
                                                                         audited, and do not necessarily
           23                                                            reflect all costs associated with the
                 PX-0611          7/29/2020 WW App Store Gross Margin    App Store.
           24
                                                                         This document is an August 2019
           25                                                            slide deck that includes confidential
                                                                         business information and non-
           26
                                                                         public financial information. The
           27                                                            document includes billing revenues,
                                  8/13/2019 FY20 App Store Budget        including forecasts, for the App
           28    *PX-2171         Master.key                             Store, as well as subscription data
                                                               5
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
                                                THERETO, 4:20-CV-05640-YGR
                       Case 4:20-cv-05640-YGR Document 577-1 Filed 05/04/21 Page 7 of 29


            1
                       Document                   Document Title                            Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                  for different categories of apps.
            4                                                                     The document discusses
                                                                                  confidential and competitively
            5                                                                     sensitive future-looking business
                                                                                  plans for growth, and detailed
            6                                                                     financial projections.
            7
                                                                                  This document is a January 2020
            8                         1/23/2020 Email regarding FQ1’20            email chain containing specific,
                                      Earnings Update - Installed Base with       competitively sensitive, and non-
            9    PX-2363              attachment(s)                               public financial information. 3
           10                                                                     This document is an October 2019
                                                                                  email chain and related slide deck
           11
                                                                                  containing specific data regarding
           12                         10/1/2019 Email regarding Profitability -   the profitability of various Apple
                 PX-2385              Follow ups with attachment(s)               products and services.
           13
                                                                                  This document is a December 2019
           14                                                                     slide deck containing competitively
                                                                                  sensitive, non-public financial
           15    PX-2391              12/18/2019 FY20 LRF - Dec’19                information and forecasts.
           16
                                                                                  This document is a September 2019
           17                                                                     slide deck reflecting confidential
                                                                                  financial information, including
           18                                                                     data regarding operating margins
                 PX-2392              2/10/2021 FY19/20 Profitability             and revenue growth.
           19
                                                                                  This document is a slide deck that
           20
                                                                                  includes confidential business
           21                                                                     information and nonpublic financial
                                                                                  information. The document
           22                                                                     includes billing revenues, including
                                                                                  forecasts, for the App Store, as well
           23                                                                     as information about the number of
           24                                                                     subscribers for the top apps. The
                                                                                  document includes revenue
           25                                                                     information for some of Apple's top
                                      12/13/2019 2019 App Store Budget &          apps (including Fortnite), and
           26    PX-0602              Headcount - MASTER.key                      discusses confidential business
           27
                  3
           28         This document is also sealable for the reasons described in Category 3 – Competitively Sensitive
                      Information.
                                                                     6
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                    Document                  Document Title                          Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                            plans for growth. The document
            4                                                               discusses several concepts from
                                                                            improving certain features of the
            5                                                               App Store, as well as projected
                                                                            revenues for certain monetized
            6                                                               features. The document also sets
            7                                                               forth in detail the projected revenue
                                                                            for the App Store, broken down by
            8                                                               region.

            9                                                               This document is a slide deck
                                                                            providing a business management
           10                                                               overview of the App Store for fiscal
           11                                                               year 2020. The document includes
                                                                            figures showing the total billings
           12                                                               for the App Store, as well as
                                                                            customer spending in the United
           13                                                               States across several of Apple's
                                                                            products. The document shows
           14                                                               revenue broken down by geography
           15                                                               and app type. The document
                                                                            includes a comparison of forecasted
           16                                                               billings to actual billings, and
                                                                            discusses actual and projected
           17                                                               revenue growth at the App Store.
                                                                            The document also discusses future
           18                                                               opportunities for growing the App
           19                                                               Store, including confidential
                                  10/8/2019 01_Business Management          information about future product
           20    PX-0608          FY20 Overview_Not Shared.key              enhancements.

           21                                                               The entire document should be
                                                                            sealed as reflecting non-public
           22                                                               financial information about
           23                                                               payment processing fees,
                                  Workbook with three spreadsheets titled   implicating non-public rates
           24                     in part “Apple Inc.: Apple Media          charged by third-party payment
                 DX-3122          Products”                                 processors.
           25
                                                                            The entire document should be
           26                                                               sealed because it reflects recent
                                  iOS Apps Reviewed Summary – January       non-public financial and marketing
           27
                 *DX-3446         29, 2020                                  data.
           28
                                                               7
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                   Document Title                           Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                 The entire document should be
            4                         Spreadsheet titled “Apple Inc. Line of     sealed as reflecting non-public
                 DX-3911              Business Reports” for various products     Apple financial data.
            5

            6                                                                    The entire document should be
                                      Spreadsheet titled “US sales: iPhone,      sealed as reflecting non-public
            7                         iPad, and iPod Touch: Q4FY208-             financial data concerning sales of
                 DX-4199              Q4FY2019”                                  Apple devices.
            8
                                                                                 This document from November
            9                                                                    2020 provides detailed, non-public
           10                                                                    financial information about Apple’s
                                                                                 Search Ads feature. The document
           11                                                                    discusses in detail the revenues
                                                                                 from Search Ads across several
           12                                                                    different categories, and includes an
                                                                                 assessment of future growth. The
           13
                                                                                 document also includes charts
           14                                                                    which breakdown revenue from
                                                                                 Search Ads in 2020 by region and
           15                                                                    by categories, and shows the “Top
                                                                                 Spenders” for Search Ads, as well
           16                         11/14/2020 Email regarding Search Ads      as other categories that include
                                      Q1 FY21 Flash Report - November 6 to       developer-specific financial
           17
                 *PX-0413 4           November 12 with attachment(s)             information.
           18
                                                                                 This document is a recent slide deck
           19                                                                    that includes confidential business
                                                                                 information and nonpublic financial
           20                                                                    information. The document
                                                                                 contains billing revenues, including
           21                                                                    forecasts, for the App Store. It also
           22                                                                    contains business sensitive data
                                                                                 regarding advertising spending and
           23                                                                    revenues. And it also sets forth in
                                      8/4/2020 200803 FY21 App Store             detail the projected revenue for the
           24    PX-2302              Budget Draft.key                           App Store, broken down by region.
           25

           26

           27
                  4
           28         PX-0413 is included in the parties’ April 27, 2021 Stipulation and [Proposed] Order Regarding
                      Admissibility of Documents Submitted with Four-Hour Deposition (Dkt. 498).
                                                                     8
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                   Document Title                            Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                  The entire document should be
            4                                                                     sealed because it reflects non-public
                 PX-0612              7/8/2020 Line of Business Report            financial information.
            5

            6                                                                     The document should be sealed
                                                                                  because it reflects non-public
            7    PX-2165              9/6/2018 App Store Presentation             financial information.

            8                                                                     The document should be sealed
                                                                                  because it reflects non-public
            9    PX-2167              9/25/2018 App Store Presentation            financial information.
           10
                                                                                  The document should be sealed
           11                                                                     because it reflects non-public
                                                                                  financial information regarding
           12    PX-2168              9/26/2019 App Store Presentation            Apple’s financial performance.
           13                         5/26/2020 Email regarding Kantar            The entire document should be
                                      Smartphone KPI Report for US and            sealed because it reflects non-public
           14
                 PX-2364              China with attachment(s)                    financial information.
           15
                                      9/18/2020 Email regarding Search Ads        The entire document should be
           16                         Q4 FY20 Flash Report - September 11 to      sealed because it reflects non-public
                 *PX-2366             September 17 with attachment(s)             financial information.
           17
                                                                                  The entire document should be
           18                                                                     sealed because it reflects non-public
           19                         8/5/2019 Email regarding Q4’19 M1           financial information and
                                      Final Fcst P&L Package with                 competitively sensitive financial
           20    PX-2369              attachment(s).                              forecasts. 5

           21                                                                     The entire document should be
                                                                                  sealed because it reflects non-public
           22                         4/20/2020 Email regarding RE:               financial information and
           23                         [EXTERNAL] Re: Multiple Binary              competitively sensitive financial
                 PX-2382              Approach with attachment(s)                 forecasts. 6
           24

           25

           26     5
                      This document is also sealable for the reasons described in Category 3 – Competitively Sensitive
           27         Information.
                  6
           28         This document is also sealable for the reasons described in Category 3 – Competitively Sensitive
                      Information.
                                                                     9
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                    Document                         Document Title                              Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                                      The entire document should be
            4                                                                         sealed because it reflects non-public
                  PX-2928              ECA FY’20 Q1                                   financial information.
            5

            6                          CATEGORY 2 – SENSITIVE SECURITY INFORMATION
            7           10.       Second, Apple respectfully requests that the Court seal the identified information that

            8    could aid a bad actor. Specifically, Apple seeks to seal specific information about Apple’s security

            9    policies and internal processes like Apple’s App Review process.

           10           11.       Public disclosure of this information would risk providing assistance to competitors and

           11    third parties seeking to unlawfully access or steal data. Apple takes many steps, and undertakes

           12    substantial efforts, to safeguard information—including its trade secrets and private confidential data

           13    of its customers and developers—and keeping those efforts confidential is important to their

           14    effectiveness.

           15           12.       Not only does Apple protect critical information through its internal security systems

           16    and processes, Apple also protects users and developers alike from fraud, malware, and unwarranted

           17    intrusion into their privacy through its extensive App Review Process. Disclosure of the identified

           18    information would allow bad actors to circumvent Apple’s important review process and would

           19    endanger users and developers.

           20           13.       Below is a chart detailing the specific potential trial exhibits that are sealable under this

           21    category for the reasons explained herein.

           22     Document Sought                         Document Title                             Reason to Seal
                    to be Sealed
           23
                                                                                             This document includes a
           24                                                                                discussion of Apple’s efforts
                                                                                             to reverse engineer particular
           25                                                                                forms of software used by
           26                                                                                fraudsters, as well as an
                                                                                             explanation of how these
           27                                                                                fraudulent methods work.
                                          6/17/2019 Email regarding Re: Draft email          The email also includes
           28     *PX-2245                to Phil                                            confidential and sensitive
                                                                      10
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                  Document Sought                Document Title                        Reason to Seal
            2       to be Sealed

            3                                                                   information regarding
                                                                                potential technical solutions
            4                                                                   to curbing the effectiveness
                                                                                of such fraudulent software
            5                                                                   and the fraudsters who
                                                                                attempt to deploy it. The
            6                                                                   document also contains an
            7                                                                   explanation of a potential
                                                                                method to assist in defending
            8                                                                   against cheaters and hackers.
                                                                                Release of this information
            9                                                                   would potentially assist bad
                                                                                actors in avoiding Apple’s
           10                                                                   efforts to maintain the
           11                                                                   security and privacy of its
                                                                                users.
           12
                                                                                This document is an internal
           13                                                                   discussion among the App
                                                                                Review team discussing the
           14                                                                   security implications of
           15                                                                   allowing developers to add
                                                                                certain features to their apps.
           16                                                                   The document discusses the
                                                                                technical details of such
           17                                                                   features and how they might
                                                                                be implemented in a manner
           18                                                                   consistent with Apple’s
           19                                                                   security protocols. The
                                                                                document also includes a
           20                                                                   discussion regarding the
                                                                                privacy implications of the
           21                                                                   feature, including changes to
                                    4/26/2019 Email regarding Re:               the App Review process that
           22
                                    <rdar://problem/14499172> TLF: User-        may be needed in order to
           23    *PX-2006           installable fonts                           protect against abuse.

           24                                                                   This document is an email
                                                                                exchange among members of
           25                                                                   Apple’s App Review and
                                                                                security team regarding an
           26                                                                   app operating in violation of
           27                                                                   the App Store guidelines.
                                    2/2/2017 Email regarding Re: Coin Booster   The document includes
                 *PX-2090           with attachment(s)
           28                                                                   highly confidential source
                                                            11
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                  Document Sought                 Document Title                         Reason to Seal
            2       to be Sealed

            3                                                                     code for the third-party app,
                                                                                  as well as a discussion of
            4                                                                     how to detect certain
                                                                                  fraudulent app functions.
            5
                                                                                The entire document should
            6                                                                   be sealed because it reflects a
                                                                                method of hiding code in app
            7
                                                                                review process and related
            8                                                                   discussion that could be
                 *DX-3685           2/2/2017 email regarding “Re: Coin Booster” exploited by bad actors.
            9
                                                                                  The entire document should
           10                                                                     be sealed as reflecting
                                                                                  information regarding how
           11
                                                                                  bad actors mask gambling
           12                                                                     apps, which could undermine
                                    8/18/2018 Email regarding Re: Takedown        security efforts if made
           13    *PX-2051           request from MPS - August 14, 2018            public.
           14                                                                     The entire document should
                                                                                  be sealed because it reflects
           15                                                                     non-public discussions
           16                                                                     concerning Apple’s strategy
                                    3/10/2017 Email regarding Re: Chinese         to combat phishing attacks
           17                       News about fraud loss in iOS game with        that could be exploited by a
                 PX-2102            attachment(s)                                 bad actor.
           18
                                                                                  The entire document should
           19                                                                     be sealed because it reflects
           20                                                                     non-public discussions
                                                                                  concerning Apple’s app
           21                       1/14/2020 Email regarding Re: App Review      review process that could be
                 PX-2134            ConnectMe with attachment(s)                  exploited by a bad actor.
           22
                                                                                  The entire document should
           23                                                                     be sealed because it reflects
           24                       1/23/2019 Email regarding Re: AMP             confidential security
                                    Commerce and Payments Schedule: January       information that could be
           25    PX-2142            21, 2019                                      exploited by a bad actor.

           26                                                                     The document should be
                                                                                  sealed because it reflects
           27                       6/5/2017 Email regarding Re: 414478124        security information that
                 *PX-2174           WeChat update with attachment(s)              could be exploited by a bad
           28
                                                             12
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                  Document Sought                Document Title                        Reason to Seal
            2       to be Sealed

            3                                                                   actor. Specifically, source
                                                                                code reflecting security
            4                                                                   concerns should be redacted
                                                                                at pages 3-6 and 9-11.
            5
                                                                                The entire document should
            6                                                                   be sealed because it reflects
                                                                                dynamic analysis topics that
            7
                                                                                App Review examines and
            8                       9/30/2015 Email regarding Columbus Deck     could be exploited by a bad
                 *PX-2201           with attachment(s)                          actor.
            9
                                                                                The entire document should
           10                                                                   be sealed because it reflects
                                                                                confidential security
           11
                                    1/12/2019 Email regarding Fraud Status -    information that could be
           12    *PX-2248           2018-01-11 with attachment(s)               exploited by a bad actor.

           13                                                                   The entire document should
                                                                                be sealed because it reflects
           14                                                                   Apple’s confidential security
                                                                                information that could be
           15    PX-2297            8/21/2020 iMessage with attachment(s)       exploited by a bad actor.
           16
                                                                                The entire document should
           17                                                                   be sealed because it reflects
                                                                                Apple’s confidential security
           18                       11/8/2017 Email regarding Re: Aliases for   information that could be
                 *PX-2331           business managment with attachment(s)       exploited by a bad actor.
           19
                                                                                The entire document should
           20
                                                                                be sealed because it reflects
           21                       3/6/2020 Email regarding Monthly Update     Apple’s confidential security
                                    (February 2020): ASI Pruning Efforts with   information that could be
           22    *PX-2332           attachment(s)                               exploited by a bad actor.
           23                                                                   This document reflects non-
                                                                                public communications with
           24
                                                                                a third-party developer
           25                                                                   regarding a potential product
                                                                                launch. The document
           26                                                                   includes a detailed and
                                                                                extensive collection of
           27                       7/24/2015 Email regarding Fwd: Intro with   proprietary, raw analysis by
                 *PX-2336           attachment(s)                               the developer showing the
           28
                                                             13
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                  Document Sought                      Document Title                          Reason to Seal
            2       to be Sealed

            3                                                                           operation of the developer’s
                                                                                        analysis engines. This
            4                                                                           information could be
                                                                                        exploited by a competitor or
            5                                                                           bad actor. 7
            6                                                                           This document reflects non-
                                                                                        public communications with
            7
                                                                                        a third-party developer
            8                                                                           regarding a potential product
                                                                                        launch. The document
            9                                                                           includes a detailed and
                                                                                        extensive collection of
           10                                                                           proprietary, raw analysis by
           11                                                                           the developer showing the
                                                                                        operation of the developer’s
           12                                                                           analysis engines. This
                                         7/23/2015 Email regarding Fwd: Intro with      information could be relevant
           13     *PX-2075               attachment(s)                                  to a competitor. 8
           14                                                                           The entire document should
                                                                                        be sealed because it reflects
           15
                                                                                        Apple’s confidential security
           16                            9/18/2020 Email regarding Re: $634K for        information that could be
                  PX-2350                480 user licenses of COMPANY??                 exploited by a bad actor.
           17
                                                                                        The entire document should
           18                                                                           be sealed because it reflects
                                                                                        security information in the
           19
                                         8/21/2020 Email regarding Fwd: App             form of exploitable business
           20                            Review Escalations Chart (Policy &             organization information that
                                         Escalations (P&E) + Dev Services) with         could be exploited by a bad
           21     *PX-2387               attachment(s)                                  actor.

           22
                                 CATEGORY 3 – COMPETITIVELY SENSITIVE INFORMATION
           23            14.     Third, Apple seeks to seal competitively sensitive information including product
           24    information regarding plans to develop yet undisclosed new products which, if revealed would cause
           25

           26     7
                      This document is also sealable for the reasons described in Category 4 – Third-Party Confidential
           27         Information.
                  8
           28         This document is also sealable for the reasons described in Category 4 – Third-Party Confidential
                      Information.
                                                                    14
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1    Apple economic harm and put it at a competitive disadvantage. Examples of documents which should
            2    be sealed on these grounds are DX-4094, PX-0059, and PX-2168.
            3             15.   In addition to future product information, Apple also seeks to seal as competitively
            4    sensitive certain market research reports which were either commissioned by or conducted by Apple
            5    in order to gain a unique insight into consumer and developer preferences and thereby improve its
            6    competitive standing.
            7             16.   Public disclosure of this information would risk competitors gaining an unfair business
            8    advantage by benefiting from effort regarding product development that Apple intended to keep
            9    confidential. Apple takes many steps, and undertakes substantial efforts, to safeguard information—
           10    including its trade secrets—and keeping those efforts confidential is important to their effectiveness.
           11             17.   Below is a chart detailing the specific potential trial exhibits that are sealable under this
           12    category for the reasons explained herein.
           13          Document                    Document Title                               Reason to Seal
                      Sought to be
           14           Sealed
           15                                                                       This document describes Apple’s
           16                                                                       competitive approach to the market
                                                                                    for digital game transactions,
           17                                                                       including with respect to potential
                                                                                    product enhancements or rollouts to
           18                                                                       improve the iOS experience, as well
                                                                                    as strategic business acquisitions or
           19                                                                       partnerships. The document also
           20                                                                       sets forth competitively sensitive
                                                                                    information about Apple’s approach
           21                        Document titled “Games”, dated                 to growing competition in the
                  DX-3479            February 6, 2019                               market. 9
           22
                                                                                    This document contains details
           23                                                                       about the design and rollout of a
           24                                                                       new product. The document
                                                                                    discusses the key design elements
                                     Slide deck titled “BHU 27178, Video
           25                                                                       of the product, as well as testing
                                     Partner Billing Project - Phase 1: SAP         protocols for the product. The
           26     *DX-3516           Design Playback,” dated May 28, 2019           document reflects proprietary, non-
           27
                  9
           28         This document is also sealable for the reasons described in Category 1 – Non-public Financial
                      Information.
                                                                  15
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                  Document Title                          Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                               public information about Apple's
            4                                                                  business plans.

            5                                                                  This document is slide deck
                                                                               containing competitively sensitive
            6                                                                  strategic analyses of the planned
                                                                               growth and development of the App
            7
                                                                               Store, including past and projected
            8                                                                  revenues from various segments.
                                                                               The slides on pages 27–29 also
            9                                                                  contain confidential third-party
                                                                               information about the billings
           10                                                                  revenues associated with particular
           11                                                                  apps. Later slides reflect
                                                                               competitively sensitive information
           12                                                                  regarding potential new products
                                                                               and business opportunities for
           13                                                                  developers, and confidential
                                     Presentation titled “App Store Business   analyses of the App Store’s
           14    *DX-3820            Management Overview,” July 2020           products and business model. 10
           15
                                                                               This document is a slide deck
           16                                                                  regarding the business performance
                                                                               and outlook of the App Store. The
           17                                                                  document provides competitively
                                                                               sensitive non-public information
           18                                                                  about current and projected
           19                                                                  revenues for the App Store. It also
                                                                               discusses confidential upcoming
           20                                                                  non-public and future-looking
                                                                               information regarding business
           21                                                                  initiatives and product
                                                                               developments. The slide deck also
           22                                                                  includes detailed, non-public
           23                        Presentation re “Update on how the next   financial information about the App
                 *DX-4094            year is shaping up for the App Store”     Store, broken down by region. 11
           24

           25

           26    10
                      This document is also sealable for the reasons described in Category 1 – Non-public Financial
           27         Information and Category 4 – Third-Party Confidential Information.
                 11
           28         This document is also sealable for the reasons described in Category 1 – Non-Public Financial
                      Information and Category 4 – Third-Party Confidential Information.
                                                                  16
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                  Document Title                          Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                               This document is a slide deck for
            4                                                                  FY 2020 regarding the business
                                                                               performance and outlook of the App
            5
                                                                               Store. The document provides non-
            6                                                                  public information about current
                                                                               and projected revenues for the App
            7                                                                  Store. It also discusses confidential
                                                                               and competitively sensitive
            8                                                                  information regarding upcoming
            9                                                                  business initiatives and product
                                                                               developments. The slide deck also
           10                        10/6/2019 FY20 App Store Budget           includes detailed, non-public
                 *PX-0059            Master - FINAL.key                        financial information. 12
           11
                                                                               This document is a slide deck from
           12                                                                  October 2020 that provides non-
                                                                               public information about iOS. In
           13
                                                                               particular, the document provides
           14                                                                  confidential metrics regarding the
                                                                               usage of certain features on iOS and
           15                                                                  data about OS usage across Apple’s
                                                                               userbase, as well as competitively
           16                                                                  sensitive information about usage of
           17                        11/8/2020 iOSSystemReport_2020-10-        specific third-party apps offered for
                 PX-0469             30.pdf                                    iOS.
           18
                                                                               This document sets forth analytics
           19                                                                  regarding certain features and
                                                                               products on the App Store,
           20                                                                  including Apple’s competitively
                                                                               sensitive information about its
           21
                                                                               approach to combatting fraudulent
           22                                                                  apps. The document also includes
                                                                               non-public financial information
           23                                                                  about customer spending through
                                                                               certain features of the App Store, as
           24                                                                  well as projected financial costs
           25                        10/30/2018 Email regarding Fwd: Sync      associated with the distribution of
                 *PX-2089            on Subscriptions with attachment(s)       certain types of fraudulent apps.
           26

           27
                 12
           28         This document is also sealable for the reasons described in Category 1 – Non-Public Financial
                      Information and Category 4 – Third-Party Confidential Information.
                                                                  17
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                  Document Title                           Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                This document is a detailed table
            4                                                                   containing competitively sensitive
                                     9/23/2020 Email regarding Consumer         data regarding billings and
            5
                                     Services Overview: 2020-09-22 with         subscriptions, broken down by
            6    *PX-2367            attachment(s)                              country. 13

            7                        Presentation titled “iPhone Owner Study:
                                     Australia, China, France, Germany,         The entire document should be
            8                        Japan, India, UK, US,” dated October,      sealed as reflecting competitively
                 DX-3174             2020                                       sensitive market research.
            9

           10                                                                   This document is a settlement
                                                                                agreement and release with a former
           11                                                                   employee of Apple. The document
                                     Apple Settlement Agreement with an         implicates the interests and rights of
           12    DX-3377             Individual                                 a third-party former employee.
           13                                                                   The entire document should be
           14                                                                   sealed as reflecting financial
                                     Document titled “9th Annual App Store      information or competitively
           15    *DX-3381            Leadership Summit Notes”                   sensitive information.

           16                        Presentation titled “Apple App Store       The entire document should be
                                     Brand Health Tracking, Top Line            sealed as reflecting competitively
           17    *DX-3447            Report”                                    sensitive market research.
           18
                                     Presentation titled “iPad Buyer Survey”
           19                        FY19-Q1 Report - US, UK, France,           The entire document should be
                                     Germany, China, Japan, Mexico, India,      sealed as reflecting competitively
           20    DX-3465             Thailand, and Russia                       sensitive market research.

           21                                                                   The entire document should be
                                     Presentation titled “iPhone Buyer FY20-    sealed as reflecting competitively
           22    DX-3773             Q4 Apple and Other Product Ownership”      sensitive market research.
           23
                                     Slide deck titled “Kantar ComTech          The entire document should be
           24                        Smartphone KPIs: CQ1’10 USA and            sealed as reflecting competitively
                 *DX-3896            Urban China,” dated May 2020               sensitive market research.
           25

           26

           27
                 13
           28         This document is also sealable for the reasons described in Category 1 – Non-Public Financial
                      Information.
                                                                  18
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                  Document Title                           Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                The entire document should be
            4                        Presentation titled “iPhone Buyer Survey   sealed as reflecting competitively
                 DX-4089             FY19-Q3 Global Report”                     sensitive market research.
            5

            6                                                                 The entire document should be
                                     Workbook with two spreadsheets titled in sealed as reflecting competitively
            7    DX-4149             part “Kantar ComTech USA”                sensitive market research.

            8                                                                   The entire document should be
                                                                                sealed as reflecting competitively
            9                        Slide deck titled “iOS Apps Reviewed       sensitive information concerning
           10    *DX-4214            Summary,” dated March 11, 2020             App Review.

           11                                                                   The entire document should be
                                     Presentation titled “iPhone Buyer Survey   sealed as reflecting competitively
           12    DX-4312             FY20-Q1 Global Report”                     sensitive market research.
           13                                                                   The entire document should be
                                     Presentation titled “iPhone Buyer FY20-    sealed as reflecting competitively
           14
                 DX-4495             Q2 Global Report”                          sensitive market research.
           15
                                                                                The entire document should be
           16                                                                   sealed as reflecting competitively
                                                                                sensitive market research and
           17                        Presentation titled “Agenda: Business      analysis. In addition, the document
                                     Update, FY’19 Focus Areas, Financials,     contains non-public, non-public
           18
                 *DX-3137            Resources”                                 financial data. 14
           19
                                                                                The entire document should be
           20                                                                   sealed as reflecting competitively
                                                                                sensitive market analysis and
           21                        Presentation titled “Apple Arcade,         forward-looking pricing strategy for
                 *DX-3789            Worldwide Pricing”                         Apple Arcade. 15
           22

           23                                                                   The document should be sealed
                                     Presentation titled “Kick off Services     because it contains competitively
                 *DX-4178            with an update on the App store”
           24                                                                   sensitive business strategy for the

           25
                 14
                      This document is also sealable for the reasons described in Category 1 – Non-public Financial
           26         Information.
           27    15
                      This document is also sealable for the reasons described in Category 1 – Non-public Financial
                      Information.
           28
                                                                                               (Cont’d on next page)
                                                                  19
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                   Document Title                            Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                 App Store, including non-public
            4                                                                    financial information as well as
                                                                                 third-party revenue data.
            5                                                                    Specifically, the following pages
                                                                                 should be redacted: .003-.009, .012-
            6                                                                    .015, .038, .046, .049-.052, .054,
            7                                                                    .057, .059-.060. 16

            8                                                                    The entire document should be
                                      6/30/2020 EC SESSION ON APPLE              sealed because it reflects internal
            9                         APP STORE - Draft v 2                      comments on a draft presentation to
                 *PX-0314             (mperves@apple.com 3).key                  the European Commission.
           10
                                                                                 This document contains proprietary
           11
                                                                                 market research by a third-party
           12                                                                    firm. The document provide an in-
                                                                                 depth analysis of market trends, as
           13                                                                    well as forecast for future
                                                                                 performance in the technology
           14                                                                    sector. The report reflects the
                                                                                 proprietary analyses of a third party,
           15
                                                                                 and public disclosure could unfairly
           16                                                                    prejudice that party. Apple has
                                                                                 contacted the third-party firm to
           17                                                                    request permission to use the
                                      Presentation titled “EEDAR - Gamer         exhibit publicly; such permission
           18    DX-4170              Segmentation 2018 Syndicated Report”       has not been provided. 17
           19
                                                                                 The entire document should be
           20                                                                    sealed because it reflects the
                                                                                 development of Apple Arcade,
           21                                                                    including forward-looking
                                                                                 strategies to maximize subscriber
           22                                                                    growth and promote developer
                 DX-5525              Apple Arcade Worldwide Pricing             content. This document also
           23

           24

           25
                 16
                      This document is also sealable for the reasons described in Category 1 – Non-public Financial
           26         Information and Category 4 – Third-Party Confidential Information.
           27    17
                      This document is also sealable for the reasons described in Category 4 – Third-Party Confidential
                      Information.
           28
                                                                                                 (Cont’d on next page)
                                                                   20
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                       Document                   Document Title                            Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                 contains confidential third-party
            4                                                                    financial information. 18

            5                                                                    The entire document should be
                                      5/26/2020 Kantar CQ1’20 Smartphone         sealed because it reflects
            6    PX-0747              KPIs (22 May 2020).key                     competitively sensitive information.
            7
                                                                                 The entire document should be
            8                         1/5/2019 Email regarding Search Ad         sealed because it reflects
                 PX-0850              opportunities with attachment(s)           competitively sensitive information.
            9
                                      6/14/2019 Email regarding [meeting         The entire document should be
           10                         summary] Apple Arcade Creative             sealed because it reflects
                 *PX-2172             Strategy                                   competitively sensitive information.
           11
                                                                                 The entire document should be
           12
                                      6/20/2018 Email regarding FY19 App         sealed because it reflects
           13    *PX-2272             Store roadmap review with attachment(s)    competitively sensitive information.

           14                                                                    The entire document should be
                                                                                 sealed because it reflects
           15    *PX-2295             iMessage (9/9/2020)                        competitively sensitive information.
           16                                                              The entire document should be
           17                         App_Store_Proposal_Update_11.06.2020 sealed because it reflects Apple’s
                 PX-2303              _Privileged_and_Confidential.key     competitively sensitive information.
           18
                                                                                 The entire document should be
           19                         6/18/2019 iPad_Buyer_FY19-                 sealed because it reflects Apple’s
                 PX-2308              Q1_Report.key                              competitively sensitive information.
           20
                                                                                 The entire document should be
           21
                                      2/13/2020 iPhone Buyer FY20-Q1             sealed because it reflects Apple’s
           22    PX-2309              Report.key                                 competitively sensitive information.

           23                         3/13/2020 email regarding ERB              The entire document should be
                                      Spreadsheet, Deck, Details, Stats:         sealed because it reflects Apple’s
           24    *PX-2337             03.13.2020 with attachment(s)              competitively sensitive information.
           25

           26

           27
                 18
           28         This document is also sealable for the reasons described in Category 4 – Third-Party Confidential
                      Information.
                                                                   21
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Crutcher LLP
                 PARTIALLY SEAL PORTIONS OF THE PARTIES’ TRIAL EXHIBITS AND LIVE TRIAL TESTIMONY RELATED
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            1
                    Document                 Document Title                          Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                           The entire document should be
            4                     7/25/2020 Email regarding Re: NYT        sealed because it reflects Apple’s
                 *PX-2340         story on Airbnb                          competitively sensitive information.
            5

            6                     10/25/2020 Email regarding Upcoming      The entire document should be
                                  Quarterly App Store Reprice (October     sealed because it reflects Apple’s
            7    PX-2343          2020) with attachment(s)                 competitively sensitive information.

            8                     11/8/2020 Email regarding iOS, iPadOS,   The entire document should be
                                  macOS System Reports for the week        sealed because it reflects
            9                     ending October 30, 2020 with             competitively sensitive information
           10    PX-2355          attachment(s)                            used for future business planning.

           11                                                              The entire document should be
                                  6/12/2020 Email regarding iOS &          sealed because it reflects
           12                     iPadOS System Reports for the week       competitively sensitive information
                 PX-2359          ending May 29, 2020 with attachment(s)   used for future business planning.
           13
                                                                           The entire document should be
           14
                                                                           sealed because it reflects
                                  2/13/2018 Email regarding iPhone         competitively sensitive market
           15                        buyer survey report for FY18-         research.
                 PX-2376             Q1 with attachment(s)
           16
                                                                           The entire document should be
           17                                                              sealed because it reflects
                                  12/3/2020 iPhone owners- other Apple     competitively sensitive market
           18
                 PX-2377          products and other devices use.key       research.
           19
                                                                           The entire document should be
           20                                                              sealed because it reflects
                                  12/4/2020 Kantar ComTech USA CQ320       competitively sensitive market
           21    PX-2378          Mobile Report.key                        research.
           22                                                              The entire document should be
           23                     12/5/2020 iPhone Buyer FY20-Q4 -         sealed because it reflects
                                  Apple and other Product Ownership (3     competitively sensitive market
           24    PX-2379          Dec 2020) legal.key                      research.

           25                                                              The entire document should be
                                                                           sealed as reflecting competitively
           26                     9/10/2020 Email regarding Re: App        sensitive business planning and
                 PX-2389          Store analysis                           fraud prevention information.
           27

           28
                                                             22
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            1
                     Document                      Document Title                               Reason to Seal
            2       Sought to be
                      Sealed
            3
                                                                                  The entire document should be
            4                         9/12/2020 Email regarding Re: Possible      sealed as reflecting competitively
                                      change to App Store fee structure - - risks sensitive business planning and
            5
                  PX-2390             and challenges                              fraud prevention information.
            6
                                                                                    The entire document should be
            7                                                                       sealed because it reflects
                                      9/15/2020 Email regarding Policy              competitively sensitive information
            8                         Update: (4.9) Escalate game streaming         regarding future potential streaming
                  *PX-0750            services and titles under 4.9                 game policy updates.
            9

           10                   CATEGORY 4 – THIRD-PARTY CONFIDENTIAL INFORMATION

           11           18.     Fourth Apple seeks to seal information that reflects sensitive business information of its

           12    many third-party developers which, if revealed could impact those developers’ competitive standing

           13    among fellow developers. Various Apple and Epic trial exhibits implicate confidential information of

           14    many of Apple’s developer partners. Apple takes many steps, and undertakes substantial efforts, to

           15    safeguard private confidential data of its customers and developers and keeping that information

           16    confidential is important to its effectiveness

           17           19.     Below is a chart detailing the specific potential trial exhibits that are sealable under this

           18    category for the reasons explained herein.

           19        Document                      Document Title                              Reason to Seal
                    Sought to be
           20         Sealed

           21                                                                       This document contains the
                                                                                    proprietary information of a third-
           22                                                                       party market research firm, and
           23                                                                       public disclosure could unfairly
                                                                                    prejudice that party. Apple
           24                         Document titled “2018 Global Games            requested third-party permission to
                                      Market Report - Trends, Insights, and         use the exhibit publicly; such
           25     DX-3248             Projections Toward 2021” by Newzoo            permission has not been provided.
           26

           27

           28
                                                                    23
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            1
                       Document                   Document Title                            Reason to Seal
            2         Sought to be
                        Sealed
            3
                                                                                  This document contains an analysis
            4                                                                     by Apple’s App Review team of a
                                                                                  new subscription service by a third-
            5
                                                                                  party developer. In the course of
            6                                                                     analyzing the service, the App
                                                                                  Review members discuss and
            7                                                                     disclose revenue information for
                                                                                  other developers who may be
            8                                                                     affected by the proposed service.
            9                                                                     The discussion of both the proposed
                                                                                  subscription service and the
           10                                                                     developers’ revenue constitute
                                                                                  confidential information, both about
           11                                                                     potential business strategies and
                                      4/10/2018 Email regarding Re: ERB           about the amount of revenue certain
           12                         Consideration - Amazon FreeTime             developers derive from the App
           13    PX-0191 19           Unlimited (1324809509)                      Store.

           14                                                                     This document is a 2018 email
                                                                                  chain discussing confidential
           15                                                                     information about a third-party
                                                                                  developer’s anticipated product
           16                                                                     launch on iOS and sensitive
           17                                                                     business plans related to the same.
                                                                                  The document also contains
           18                                                                     specific, confidential third-party
                                      4/6/2018 Email regarding Re: ERB            developer revenue data for various
           19                         Consideration - Amazon FreeTime             different apps, which are identified
                 PX-2126 20           Unlimited (1324809509)                      by name.
           20
                                                                           This document is a July 2020 email
           21
                                                                           chain containing confidential
           22                                                              information related to the
                                      7/30/2020 Email regarding Re: [HOT]  particulars of a third-party
           23                         Out-Of-Cycle ERB Request: 1496439256
                                                                           developer’s modifications to an app
                 *PX-2333             Facebook Gaming                      submission. Specifically, the Apple
           24

           25    19
                      Apple is moving to provisionally seal PX-0191 which implicates Amazon’s business. Apple is
           26         providing notice of the motion to Amazon so that it may support sealing of such documents if it
                      so chooses.
           27    20
                      Apple is moving to provisionally seal PX-2126 which implicates Amazon’s business. Apple is
           28         providing notice of the motion to Amazon so that it may support sealing of such documents if it
                      so chooses.
                                                                  24
Gibson, Dunn &       DECLARATION OF RACHEL S. BRASS IN SUPPORT OF DEFENDANT APPLE INC.’S MOTION TO
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            1
                    Document                  Document Title                        Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                          employees on the chain note the
            4                                                             technical changes that the developer
                                                                          made to its app.
            5
                                  8/21/2018 Email regarding update on     The document should be sealed
            6                     App Store Membership Subscriptions      because it reflects confidential
                 *PX-0201         with attachment(s)                      third-party business plans.
            7

            8                                                             The entire document should be
                                                                          sealed because it reflects the
            9                                                             financial impact of fraud relating to
                                                                          numerous third-party developers
           10                     4/7/2017 Email regarding High Fraud     and includes the names of
                 *PX-0302         Rate In Apps                            individual wrongdoers.
           11

           12                                                             The entire document should be
                                                                          sealed because it reflects the
           13                                                             financial impact of fraud relating to
                                                                          numerous third-party developers
           14                     5/31/2017 Email regarding High Fraud    and includes the names of
                 *PX-0303         Rate In Apps                            individual wrongdoers
           15

           16                                                             The entire document should be
                                  2/12/2020 Email regarding Re: New Mac   sealed because it reflects
           17    PX-0514          and XCloud on iOS follow-up             confidential third-party information.

           18                                                             The entire document should be
                                  3/8/2020 Email regarding Re: Project    sealed because it reflects
           19    *PX-0520         Mandril Notes - Activision Blizzard     confidential third-party information.
           20
                                                                          The entire document should be
           21                                                             sealed because it reflects
                                                                          information regarding third-parties’
           22                     8/20/2018 Email regarding Re: need      future business plans concerning the
                                  Membership Subscriptions update for     potential use of a subscription
           23    *PX-2061         Phil and Eddy with attachment(s)        payment model.
           24                                                             The entire document should be
           25                     7/16/2019 Email regarding Re: Sling     sealed because it reflects non-public
                 PX-2108          question                                information relating to a third party.
           26
                                  11/19/2019 Email regarding Re: How      The entire document should be
           27                     does xCloud differ from Media           sealed because it reflects non-public
                 *PX-2116         Streaming Apps?                         information relating to a third party.
           28
                                                             25
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            1
                    Document                  Document Title                         Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                           The entire document should be
            4                     4/25/2019 Email regarding Fwd: IAP       sealed because it reflects non-public
                 *PX-2121         suppressed? with attachment(s)           information relating to a third party.
            5

            6                                                              The entire document should be
                                  7/21/2018 Email regarding Netflix        sealed because it reflects non-public
            7    *PX-2140         Presentation with attachment(s)          information relating to a third party.

            8                     6/19/2019 Email regarding VPB [IS&T
                                  Design Update]: SAP & GBI Slides         The entire document should be
            9                     [Movie Purchase/Rental] with             sealed because it reflects non-public
           10    PX-2143          attachment(s)                            information relating to a third party.

           11                                                              The entire document should be
                                                                           sealed because it reflects third-party
           12                     6/12/2018 Email regarding Re: Follow     developer’s revenue information
                 *PX-2237         Up                                       and sources for downloads.
           13
                                  8/21/2018 Email regarding update on
           14
                                  App Store Membership Subscriptions       The document should be sealed
           15                     with attachment(s) (cover email was      because it reflects confidential
                 *PX-2240         withheld for privilege)                  third-party business plans.
           16
                                  5/17/2017 Email regarding Re: Out-Of-    The entire document should be
           17                     Cycle ERB Request: 1156018161            sealed because it reflects
                                  SubHub - Find, monitor and cancel your   competitively sensitive third-party
           18
                 *PX-2262         subscriptions                            information.
           19
                                  4/3/2020 Email regarding Re:             The entire document should be
           20                     [EXTERNAL] Xbox Game Streaming on        sealed because it reflects
                 PX-2311          iOS                                      confidential third-party information.
           21
                                                                           The entire document should be
           22                     2/5/2020 Email regarding xCloud ERB      sealed because it reflects
           23    *PX-2313         Topics                                   confidential third-party information.

           24                                                              The entire document should be
                                  7/9/2020 Email regarding FB Gaming       sealed because it reflects
           25    *PX-2326         App on iOS with attachment(s)            confidential third-party information.
           26                     9/15/2020 Email regarding Policy
                                  Update: (4.9) Escalate game streaming    The entire document should be
           27                     services and titles under 4.9 with       sealed because it reflects
           28    *PX-2327         attachment(s)                            confidential third-party information.
                                                             26
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            1
                    Document                  Document Title                           Reason to Seal
            2      Sought to be
                     Sealed
            3
                                  4/27/2020 Email regarding Re:             The entire document should be
            4                     [EXTERNAL] Multiple Binary                sealed because it reflects
                 *PX-2328         Approach                                  confidential third-party information.
            5

            6                     9/14/2020 Email regarding RE:             The entire document should be
                                  [EXTERNAL] Checking in / xCloud on        sealed because it reflects
            7    *PX-2342         iOS                                       confidential third-party information.

            8                                                               The entire document should be
                                                                            sealed because it reflects
            9                                                               confidential business planning
           10                     1/29/2020 Email regarding RE:             information of a third-party
                 PX-2360          [EXTERNAL] Re: 3P - Xbox Game Pass        developer.
           11
                                                                            The entire document should be
           12                                                               sealed because it reflects
                                                                            confidential business planning
           13                     3/13/2020 Email regarding RE:             information of a third-party
           14    PX-2361          [EXTERNAL] Xbox Console Streaming         developer.

           15                                                               The entire document should be
                                                                            sealed because it reflects
           16                     4/20/2020 Email regarding RE:             confidential business planning
                                  [EXTERNAL] Re: Multiple Binary            information of a third-party
           17    *PX-2380         Approach with attachment(s)               developer.
           18
                                                                            The entire document should be
           19                                                               sealed because it reflects personally
                                                                            identifiable information and
           20                     3/5/2015 Email regarding AFC review of    detailed employment history about
                 PX-2897          Finance organization with attachment(s)   certain Apple employees.
           21
                                                                            The entire document should be
           22                                                               sealed because it reflects a third
           23                                                               party’s competitively sensitive
                                  9/18/2019 Attracting Quality Game         confidential business planning
           24    PX-2907          Devs.key                                  information.

           25                                                               The entire document should be
                                                                            sealed because it reflects a third
           26                     8/23/2019 Email regarding WWDR            party’s competitively sensitive
           27                     Games Intern Final Presentation with      confidential business planning
                 PX-2913          attachment(s)                             information.
           28
                                                              27
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            1
                    Document                      Document Title                             Reason to Seal
            2      Sought to be
                     Sealed
            3
                                                                                  The entire document should be
            4                                                                     sealed because it reflects a third
                                     8/26/2019 Email regarding Re: WWDR           party’s competitively sensitive
            5
                                     Games Intern Final Presentation with         confidential business planning
            6     PX-2914            attachment(s)                                information.

            7                                                                     The entire document should be
                                     11/4/2020 Email regarding Re: Call to        sealed because it reflects third-party
            8     PX-0462            Sundar -- no longer necessary                information.
            9

           10
                        20.    I have met and conferred in good faith with counsel for Epic, including by telephone, in
           11
                 an effort to narrow the documents and testimony that the parties propose to maintain under seal. This
           12
                 process has resulted in narrowing the amount of designated confidential material. Apple will continue
           13
                 to meet and confer with Epic regarding redactions where possible.
           14

           15
                        I declare under penalty of perjury under the laws of the United States that the foregoing is true
           16
                 and correct and that this Declaration was executed on May 3, 2021 at San Francisco, California.
           17

           18
                                                                             /s/ Rachel S. Brass
           19                                                                Rachel S. Brass

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                                                                  28
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